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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                                   CRIMINAL ACTION


VERSUS                                                                                     NO. 15-154


PRICE, ET AL.                                                                              SECTION A(3)



                                               ORDER AND REASONS

         Defendant Jasmine Perry moves to dismiss Overt Act 41 and to exclude from trial any evidence

 used to obtain his plea in Case 11-CR-107 (Rec. Doc. 481). The motion has been adopted by co-

 defendants Evans Lewis and Ashton Price (Rec. Docs. 485 & 504).

         The motion is DENIED for the following reasons: The Court is persuaded that the series of

 wiretap phone calls suggesting a conspiracy to murder Corey Lewis with a firearm pertains to a crime of

 violence. Perry’s plea agreement in CR11-107 specifically excepts crimes of violence. Given that the plea

 agreement itself does not preclude Overt Act 41, the Court is not persuaded that any type of jeopardy or

 due process problem is created by using in this case the same wiretap evidence that was presented to

 Perry in CR11-107 when he decided to enter his plea.

         Accordingly;

         IT IS ORDERED that the Motion to Dismiss Overt Act 41 and to Exclude Related Evidence

 (Rec. Doc. 481) is DENIED.

         August 24, 2016.




                                                                             __________________________________
                                                                                       JUDGE JAY C. ZAINEY
                                                                                 UNITED STATES DISTRICT JUDGE




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